Case 1:23-cv-00108-LMB-JFA Document 1111 Filed 08/02/24 Page 1 of 3 PageID# 81284




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    (Alexandria Division)

                                                        )
  UNITED STATES, et al.,                                )
                                                        )
                 Plaintiffs,                            )
                                                        )      1:23cv00108 (LMB/JFA)
                         v.                             )
                                                        )
  GOOGLE LLC,                                           )
                                                        )
                 Defendant.                             )
                                                        )

                   MOTION OF NONPARTIES BLOOMBERG L.P.,
             THE NEW YORK TIMES COMPANY, THE WASHINGTON POST,
                   PORTFOLIO MEDIA INC., AND MLEX US INC.
                      TO MODIFY/CLARIFY PROCEDURES
                 REGARDING ACCESS TO TRIAL AND DOCUMENTS

         Nonparties Bloomberg L.P., The New York Times Company, The Washington Post,

  Portfolio Media Inc., and MLex US Inc. move pursuant to the right of access under the First

  Amendment of the U.S. Constitution and Virginia common law for modification and/or

  clarification of certain procedures regarding access to upcoming trial proceedings and documents

  in the above-captioned case. The grounds for this motion are set forth in the Memorandum of

  Points and Authorities filed concurrently herewith.

  Date: August 2, 2024                                  Respectfully submitted,



                                                        /s/Matthew A. Leish
                                                        Matthew A. Leish (admission pro hac
                                                          vice pending)
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Case 1:23-cv-00108-LMB-JFA Document 1111 Filed 08/02/24 Page 2 of 3 PageID# 81285




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                                            New York Times Company, The Washington
                                            Post, Portfolio Media Inc., and MLex US
                                            Inc.




                                        2
Case 1:23-cv-00108-LMB-JFA Document 1111 Filed 08/02/24 Page 3 of 3 PageID# 81286




                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 2nd day of August, 2024, a copy of the foregoing was filed via

  the Court’s CM/ECF electronic filing system, which will serve all counsel of record:



                                                              Laurin H. Mills
                                                                      Laurin H. Mills
